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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON


TRUDY MORRIS,                                 :      Case No. 3:17-cv-318
6834 Stillmore Drive                          :
Englewood, Ohio 45322                         :      Judge ______________________
                                              :
                       Plaintiff,             :
                                              :
         v.                                   :      COMPLAINT WITH
                                              :      JURY DEMAND ENDORSED HEREON
PINES PET CEMETERY, INC.,                     :
c/o C.T. Lawton                               :
764 Riley Wills Road                          :
Lebanon, Ohio 45036                           :
                                              :
                       Defendant.             :


                                                  PARTIES

         1.    Plaintiff Trudy Morris is a citizen of the State of Ohio and a resident of

Montgomery County, Ohio.

         2.    Defendant Pines Pet Cemetery is corporation incorporated under the law of the

State of Ohio and with its principal place of business in Ohio.

                                    JURISDICTION AND VENUE

         3.    This Court has jurisdiction to hear this case pursuant to 28 U.S.C. § 1331 because

it arises under the laws of the United States, including the Fair Labor Standards Act, 29 U.S.C. §

201, et seq., and the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1001, et

seq.

         4.    This Court has supplemental jurisdiction over the remaining state law claims

pursuant to 28 U.S.C. § 1367 on the grounds that Plaintiff’s state law claims are so related to her
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federal claims over which the Court has original jurisdiction that they form a part of the same

case or controversy.

          5.    Venue is proper in the Southern District of Ohio, Western Division, pursuant to

28 U.S.C. § 1391(b) because Plaintiff was employed in this Division and District and the

unlawful conduct alleged in this Complaint has taken place within this Division and District.

                                     FACTUAL ALLEGATIONS

          6.    Plaintiff Trudy Morris began her employment with Defendant Pines Pet Cemetery

on April 23, 2010, as a grief counselor.

          7.    In this role, Plaintiff was supervised by Shannon Wood, who is also the owner of

the cemetery.

          8.    Defendant is a covered enterprise under the Fair Labor Standards Act (“FLSA”),

29 U.S.C. § 203, and a covered employer under Ohio Rev. Code § 4111.03.

          9.    At all relevant times, Plaintiff’s position was non-exempt from earning overtime

pay under the FLSA, 29 U.S.C. § 213, and R.C. § 4111.03.

          10.   During her time in Defendant’s employ, Plaintiff was informed by Ms. Wood that

Defendant pays normal hourly wages for any overtime hours worked, and does not pay time-and-

a-half.

          11.   Between August 2014 and July 2017, Plaintiff worked 1087.97 hours of overtime.

          12.   Defendant compensated Plaintiff’s overtime hours at the regular, non-overtime

rate, paying these hours with a check separate from Plaintiff’s normal paycheck.

          13.   Between August 2014 and July 2017, Plaintiff accrued 287 hours of unpaid

regular time by working through lunch.




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        14.     Defendant did not compensate Plaintiff for this time work, instead deducting two

hours each week from Plaintiff’s paycheck.

        15.     Plaintiff participated in a 401(k) defined contribution plan with Defendant.

        16.     As the 401(k) plan’s sponsor, Defendant is a fiduciary with respect to the plan.

        17.     Under the plan’s terms, Defendant was to make employer contributions.

        18.     Over the course of Plaintiff’s employment, Defendant withheld 14 months of

contributions to Plaintiff’s 401(k) plan totaling $254.90.

        19.     Plaintiff self-terminated her employment on July 15, 2017.

        20.     Following the end of her employment with Defendant, Plaintiff sought the advice

of counsel to pursue potential wage and hour claims for unpaid normal and overtime wages and

withheld 401(k) contributions.

        21.     Plaintiff’s counsel sent a letter to Defendant on August 1, 2017, outlining

Plaintiff’s potential claims.

        22.     When Defendant received Plaintiff’s letter, Ms. Wood and Andrew Hatcher,

Defendant’s Office Manager, sent Plaintiff a series of retaliatory, threatening, and hostile text

messages.

        23.     In response to Plaintiff’s letter, Mr. Hatcher texted Plaintiff, “I directly told you

no over time and i have documentation have fun with this journey. Your [sic] a piece of shit!”

        24.     Mr. Hatcher threatened further retaliation by texting Plaintiff, “Drop what you

are attempting or severe legal consequences you will be faces [sic] with. Your [sic] a low life

because of this. Wow I’m am [sic] absolutely astonished and I truly feel sorry for the person you

are. Enjoy a very lonely life, god himself hates you,” “I’m embarrassed to have ever called you a

friend or every [sic] gave you sympathy. You are a piece of garbage for what you are attempting.



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Literally I’m ashamed of myself for ever being you [sic] friend,” “I hope when you look in the

mirror you feel shame and embarrassment. People do the right thing to help you and you stab

them in the back. You are worthless and pathetic women [sic] and an army is prepared to stop

what you are attempting. You will have a funeral one day where you are alone l, [sic] alone in

darkness is your future. Never have i witness [sic] someone so pathetic in my life and I hope you

know you are a fucking piece of shit! Enjoy life and I now know why your husband hates you

and why your son wants nothing to do with you. Enjoy old age alone you worthless person!”

                                            COUNT I

                                (Non-Payment of Overtime – FLSA)

       25.     The preceding paragraphs are incorporated herein by reference.

       26.     At all relevant times, Defendant was an employer within the meaning of the

FLSA, 29 U.S.C. § 203(d).

       27.     At all relevant times, Plaintiff was an employee within the meaning of the FLSA,

29 U.S.C. § 203(e).

       28.     Plaintiff’s position was not subject to the FLSA’s exemptions from overtime

eligibility, 29 U.S.C. § 213.

       29.     Defendant violated the FLSA’s overtime provision, 29 U.S.C. § 207(a)(1), by

failing to compensate Plaintiff for the hours she worked in excess of 40 hours a week at a rate of

one and one-half times her wage.

       30.     Having told Plaintiff, “I directly told you no over time and i have documentation

have fun with this journey. Your [sic] a piece of shit!,” and by placing her overtime hours on a

separate check, Defendant violated the FLSA knowingly and willfully.




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         31.   As a direct and proximate result, Plaintiff has been damaged and is entitled to

relief, including liquidated damages, attorney’s fees, and costs pursuant to 29 U.S.C. §§ 216 and

260.

                                           COUNT II

                   (Non-Payment of Overtime - Ohio Rev. Code Ch. 4111)

         32.   The preceding paragraphs are incorporated herein by reference.

         33.   At all relevant times, Defendant was an employer within the meaning of R.C. §

4111.03(D)(2).

         34.   At all relevant times, Plaintiff was an employee within the meaning of R.C. §

4111.03(D)(3).

         35.   Plaintiff’s position was not subject to the statutory exemptions from overtime

eligibility of R.C. § 4111.03, which incorporates the FLSA’s exemptions, 29 U.S.C. § 213.

         36.   Defendant violated R.C. §§ 4111.03 and 4111.13 by failing to compensate

Plaintiff for the hours she worked in excess of 40 hours a week at a rate of one and one-half

times her wage.

         37.   Having told Plaintiff, “I directly told you no over time and i have documentation

have fun with this journey. Your [sic] a piece of shit!,” and by placing her overtime hours on a

separate check, Defendant violated state law knowingly and willfully.

         38.   As a direct and proximate result, Plaintiff has been damaged and is entitled to

relief, including attorney’s fees and costs pursuant to R.C. § 4111.10.

                                           COUNT III

                               (Non-Payment of Wages – FLSA)

         39.   The preceding paragraphs are incorporated herein by reference.



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         40.   At all relevant times, Plaintiff was an employee within the meaning of 29 U.S.C.

§ 203(e).

         41.   At all relevant times, Defendant was an employer within the meaning of 29

U.S.C. § 203(d).

         42.   By failing to pay Plaintiff for working through lunch and by deducting time from

Plaintiff’s paycheck, Defendant knowingly and willfully violated the minimum wage provisions

of the FLSA, 29 U.S.C. § 206.

         43.   As a direct and proximate result, Plaintiff has been damaged and is entitled to

relief, including liquidated damages, attorney’s fees, and costs pursuant to 29 U.S.C. §§ 216 and

260.

                                            COUNT IV

        (Non-Payment of Wages – Ohio Constitution, II.34A, Ohio Rev. Code Ch. 4111)

         44.   The preceding paragraphs are incorporated herein by reference.

         45.   At all relevant times, Plaintiff was an employee within the meaning of R.C. §

4111.03(D)(3).

         46.   At all relevant times, Defendant was an employer within the meaning of R.C. §

4111.03(D)(2).

         47.   By failing to pay Plaintiff for working through lunch and by deducting time from

Plaintiff’s paycheck, Defendant knowingly and willfully violated Ohio’s minimum wage laws,

including Article II, Section 34a of the Ohio Constitution, R.C. §§ 4111.02, 4111.13, and

4113.15 (the Prompt Payment Act).

         48.   As a result, Plaintiff has been damaged and is entitled to relief, including attorney

fees and costs pursuant to R.C § 4111.10.



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                                             COUNT V

                  (Wrongful Denial of Benefits – ERISA – 29 U.S.C § 1132(a))

       49.       The preceding paragraphs are incorporated herein by reference.

       50.       Plaintiff participates in Defendant’s qualified trust organized under 26 U.S.C. §

401(k), which is a defined contribution plan governed by the Employee Retirement Income

Security Act (“ERISA”), 29 U.S.C. § 1001, et seq.

       51.       As the sponsor of the 401(k) plan, Defendant was a fiduciary of the plan.

       52.       Defendant owed fiduciary duties to Plaintiff pursuant to ERISA § 404, 29 U.S.C.

§ 1104, including the duty to act in accordance with the documents and instruments governing

the plan, insofar as the terms are consistent with ERISA.

       53.       The 401(k) plan’s terms stipulated that Defendant was to make contributions in

proportion to the contributions of employees.

       54.       Over the course of Plaintiff’s employment, Plaintiff made regular contributions to

her 401(k) account.

       55.       Defendant failed to contribute its amount corresponding to 14 months of

Plaintiff’s contributions in accordance with the 401(k) terms.

       56.       By failing to make contributions as required by the documents governing the

401(k) plan, Defendant breached its fiduciary duty to Plaintiff and thereby violated ERISA, 29

U.S.C. § 1109.

       57.       As a direct and proximate result, Plaintiff has been damaged and is entitled to

recover benefits due to her under the plan pursuant to 29 U.S.C. § 1132, as well as attorney fees

and costs pursuant to 29 U.S.C. § 1132(g)(1) incurred by her efforts to enforce her contractual

rights under the 401(k) plan.



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                                           COUNT VI

                         (Retaliation – FLSA – 29 U.S.C. § 215(a)(3))

         58.   The preceding paragraphs are incorporated herein by reference.

         59.   Plaintiff engaged in protected activity by opposing practices she reasonably

believed to be unlawful, including seeking legal advice and informing Defendant through

counsel that she intended to pursue her wage and hour claims.

         60.   Defendant retaliated against Plaintiff for her protected activity by, including but

not limited to, sending threatening and harassing text messages that read, “Drop what you are

attempting or severe legal consequences you will be faces [sic] with. Your [sic] a low life

because of this,” “You are a piece of garbage for what you are attempting,” and “an army is

prepared to stop what you are attempting,” among others.

         61.   Defendant’s retaliatory conduct violates 29 U.S.C. § 215(a)(3), which protects

current and former employees from retaliation by current and former employers for pursuing

FLSA claims.

         62.   Defendant’s retaliation was knowing and willful.

         63.   As a direct and proximate result, Plaintiff has been damaged and is entitled to

relief, including liquidated damages, attorney’s fees, and costs pursuant to 29 U.S.C. §§ 216 and

260.

                                           COUNT VII

                           (Retaliation – Ohio Rev. Code Ch. 4111)

         64.   The preceding paragraphs are incorporated herein by reference.




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       65.      Plaintiff engaged in protected activity by opposing practices she reasonably

believed to be unlawful, including seeking legal advice and informing Defendant through

counsel that she intended to pursue her wage and hour claims.

       66.      Defendant retaliated against Plaintiff for her protected activity by, including but

not limited to, sending threatening and harassing text messages that read, “Drop what you are

attempting or severe legal consequences you will be faces [sic] with. Your [sic] a low life

because of this,” “You are a piece of garbage for what you are attempting,” and “an army is

prepared to stop what you are attempting,” among others.

       67.      Defendant’s retaliatory conduct violates R.C. § 4111.13, which protects former

employees from retaliation by former employers in pursing wage and hour claims.

       68.      Defendant’s retaliation was knowing and willful.

       69.      As a direct and proximate result, Plaintiff has been injured and is entitled to

judgment and compensation.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Trudy Morris requests judgment against Defendant as follows:

             (a) That Plaintiff be awarded compensatory damages, including all unpaid wages and

                unpaid overtime;

             (b) That Plaintiff be awarded her unpaid 401(k) contributions pursuant to 29 U.S.C. §

                1132;

             (c) That Plaintiff be awarded liquidated damages in an amount equal to her unpaid

                wages and overtime, pursuant to 29 U.S.C. §§ 216 and 260;

             (d) That Plaintiff be awarded punitive damages;

             (e) That Plaintiff be awarded pre-judgment and post-judgment interest;



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      (f) That Plaintiff be awarded reasonable attorney’s fees and costs, pursuant to 29

          U.S.C. § 216(b) (FLSA claims), 29 U.S.C. § 1132(g) (ERISA claim) and Ohio

          Rev. Code § 4111.10;

      (g) That Plaintiff be compensated for the adverse tax consequences of receiving a

          lump sum award rather than her compensation over several, separate tax years;

          and

      (h) That Plaintiff be awarded all other legal and equitable relief to which she may be

          entitled.



                                                 Respectfully submitted,

                                                 /s/ Kelly Mulloy Myers
                                                 Kelly Mulloy Myers (0065698)
                                                 Trial Attorney for Plaintiff
                                                 FREKING MYERS & REUL LLC
                                                 600 Vine Street, 9th Floor
                                                 Cincinnati, OH 45202
                                                 PH: 513/721-1975 - FX: 513/651-2570
                                                 kmyers@fmr.law


                                    JURY DEMAND

   Plaintiff hereby demands a trial by jury on all claims so triable.


                                                  /s/ Kelly Mulloy Myers




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